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ILLUNoIS DEPARTMENT OF CORRECTIONS

Offender Outpatient Progress Notes

Stateville Correctional Center

 

 

 

 

 

 

 

Offender information:
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